Case 2:18-cv-01481-DDP-JEM Document 354 Filed 10/29/21 Page 1 of 4 Page ID #:16339




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                                      UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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       IRONHAWK TECHNOLOGIES, INC.,                         Case No. 2:18-cv-01481-DDP-JEM
    12 a Delaware Corporation,
    13                                                      Assigned to: Hon. Dean D. Pregerson
                            Plaintiff and
    14                      Counterdefendant,               ORDER GRANTING JOINT
                                                            STIPULATION FOR DISMISSAL
    15               vs.                                    WITH PREJUDICE
    16 DROPBOX, INC., a Delaware
    17 corporation,
    18                      Defendant and
                            Counterclaimant.
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                           ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:18-cv-01481-DDP-JEM Document 354 Filed 10/29/21 Page 2 of 4 Page ID #:16340




     1               Having considered Ironhawk Technologies, Inc. and Dropbox, Inc.’s Joint
     2 Stipulation for Dismissal, the Court hereby dismisses this action with prejudice,
     3 with each party bearing its own respective attorney’s fees and costs.
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               10-29-21
     5 Dated: _______________
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                                                    Hon. Dean D. Pregerson
     7                                              Judge of the United States District Court
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                     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:18-cv-01481-DDP-JEM Document 354 Filed 10/29/21 Page 3 of 4 Page ID #:16341




     1                                   CERTIFICATE OF SERVICE
     2               I hereby certify that on this 28th day of October, 2021, I electronically filed
     3 the foregoing [PROPOSED] ORDER GRANTING with the Clerk of the Court
     4 using the CM/ECF system which will send notification of such filing to the
     5 following:
     6                                 SEE ATTACHED SERVICE LIST
     7
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    10                                                    Claudia Bonilla
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                     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:18-cv-01481-DDP-JEM Document 354 Filed 10/29/21 Page 4 of 4 Page ID #:16342




     1                                            SERVICE LIST
     2                          Ironhawk Technologies, Inc. vs. Dropbox, Inc.
                              USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
     3
     4 Jeffrey M. Davidson                                        Attorneys for Defendant and
       Matthew Q. Verdin                                          Counterclaimant
     5                                                            Dropbox, Inc.
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     6 Raymond G. Lu
       COVINGTON & BURLING LLP
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    11              cshin@cov.com
                    mverdin@cov.com
    12              rlu@cov.com
    13 Law Office of Alex Kozinski                                Co-Counsel for Ironhawk
                                                                  Technologies, Inc.
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       Palos Verdes Estate, CA 90274-2671
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                                                        -3-               Case No. 2:18-cv-01481-DDP-JEM
                     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
